           Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 1 of 48

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    10/28/2021
                                                                                                    CT Log Number 540496629
TO:         Kim Lundy- Email
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Georgia

FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: NORTON GLENDA // To: Wal-Mart Stores East, LP
DOCUMENT(S) SERVED:                               Summons, Complaint, Certificate(s), First Request(s)
COURT/AGENCY:                                     Forsyth County - State Court, GA
                                                  Case # 21SC1596A
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 01/02/2020, 4735
                                                  Jonesboro Road, Union City, GA
ON WHOM PROCESS WAS SERVED:                       The Corporation Company (FL), Cumming, GA
DATE AND HOUR OF SERVICE:                         By Process Server on 10/28/2021 at 14:21
JURISDICTION SERVED :                             Georgia
APPEARANCE OR ANSWER DUE:                         Within 30 days after service, exclusive of the day of service (Document(s) may
                                                  contain additional answer dates)
ATTORNEY(S) / SENDER(S):                          Natalee Drummond-Fairley
                                                  The Fairley Firm, LLC
                                                  1745 Phoenix Boulevard, Suite 400
                                                  Atlanta, GA 30349
                                                  404-596-6600
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 10/28/2021, Expected Purge Date:
                                                  11/02/2021

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         The Corporation Company (FL)
                                                  106 Colony Park Drive
                                                  STE 800-B
                                                  Cumming, GA 30040
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                                                                                                                                                FILED IN THIS OFFICE
                                                                                                                                                    10/26/2021 1:13 PM
                                                                                                                                                       GREG G. ALLEN
                                                                                                                                    CLERK OF THE STATE COURTS
 'SUMMONS                                                                  SC-85_9                                               awecatimargy ,ccovon,GA ticati21SC-1596-A
                                                                                                                                             Abernathy-Maddox, Leslie
             IN THE SUPERIOR/STATE COURT OF                                                        'FOPS TH                          COUNTY
                                                                      STATE OF GEORGIA
                                CIVIL ACTION
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               (g.1cut
                                                                                SUMMONS
  TO THE ABOVE NAMED DEFENDANT
     You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
  and address is:
 (\leaf\GCE DeAAMtv\DNID— CPY-TgLei
 -T-RE RakeLcijk T,-3:12on LLC
                    •                                                                  &AVE 4-00
                        P*DEN14 P)but-C--
  •       er to the complai_ w_chtista(ti)ed upon you, within 30 days after service of this summons upon you, exclusive
   Ofthe day of service. If you fail to do so,judgment by default will be taken against youfor the relief demanded in the complaint.
  This 76               day of October                        21      ,20
                                                                                               Clerk of Superior/State Court
                                                                                                       /s/ Maria Lamela
                                                                                               BY
                                                                                                                                             Deputy Cleft
  INO:RUCTIONS Attic* itOcteoctativeheix far tdditional partiza3f ntected,(COLD*dim on this Iltretif zaidefulara sheath uthpd.
                        Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 2 of 48
                                                                          FORSYTH COUNTY,GEORGIA
            Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 3 of 48     FILED IN THIS            OFFICI
                                                                                              10/2612021 1:13 PR
                                                                                                GREG G. ALLE1
                                                                                    CLERK OF THE STATE COURT:
                        DT THE STATE COURT OF FORSYTH COUNTY                                        21SC-1596-/
                                                                                        Abernathy-Maddox, Leslit
                                  STATE OF GEORGIA

  GLENDA NORTON,
                                                       Civil Action No:
                     Plaintiff,

     V.                                                JURY TRIAL DEMANDED

  WALMART INC. and WAL-MART
  STORES EAST,LP

                   Defendants.

                                  COMPLAINT FOR DAMAGES

          COMES NOW Glenda Norton,Plaintiffin the above-styled civil action, and states her

complaint for damages against Defendants Walmart INC. and Wal-Mart Stores East, LP and Shows

this Court the following:

                                  PARTIES AND JURISDICTION

                                                  1.

        Plaintiff Glenda Norton is a citizen of the State of Georgia and subjects herself to the

jurisdiction of this Court.

                                                 2.

        Defendant Walmart INC. is a foreign for-profit corporation organized under the laws of the

State ofDelaware and registered to do business in the State of Georgia. Defendant WalmartINC. may

be served with a copy of the summons and complaint through its registered agent, The Corporation

Company, at 106 Colony Park Drive, St. 800-B, Cumming,GA 30030-2794.

                                                 3.

        Defendant Wal-Mart Stores East, LP is a foreign for-profit limited partnership organized

under the laws of the State of Delaware and registered. to do business in the State of Georgia.

Defendant Wal-Mart Stores East, LP may be served with, a copy of the summons and complaint


                                               - 1-
          Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 4 of 48


through its registered agent, The Corporation Company, at 106 Colony Park Drive, St. 800-B,

Cumming,GA 30030-2794.

                                                  4

       Yenue is proper in the State Court of Forsyth County as Defendants' registered agents are

located in Forsyth County.

                                                  5.

       Defendants were properly served in this matter.

                                    STATEMENT OF FACTS

                                                  6.

       Plaintiff hereby incorporates paragraphs 1 through 5 as if fully restated. herein.

                                                  7.

       At all relevant times -- specifically on or around.January 2, 2020 -- Defendant Walmart INC.

and Defendant Wal-Mart Stores East, LP (herein collectively referred to as "Defendants") owned,

operated, occupied, controlled and/or managed the Wal-Mart store located at 4735 Jonesboro Road

in Union City Georgia.

                                                  8.

       On or around January 2, 2020, Ms. Glenda Norton visited the Walmart store located at 4735

Jonesboro Road in Union City, Georgia 30291 to take advantage of the post-holiday sales promoted

by Defendants.

                                                  9.

       Ms. Norton was accompanied by her daughter and husband.

                                                 10.

       At all relevant times herein, Ms. Norton was pushing a large shopping cart which naturally

obscured her vision ofthe floor.



                                                -2-
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                                                  IL

        Ms. Norton and her daughter eventually made their way to the aisles containing discounted

Christmas items.

                                                  17.

        Ms. Norton, with her daughter walking directly behind, her, approached the aisle containing

candles.

                                                  13:

        After coming to the end of the aisle containing Christmas sale items, Ms. Norton and her

daughter made a left turn, followed by another left turn to enter the adjacent aisle which contained

candles.

                                                  14.

       After entering the adjacent aisle, Ms. Norton proceeded to push her cart forward while looking

left at the candles on display.

                                                  15.

       Suddenly and without warning, as Ms. Norton was pushing her cart forward, she stepped into

a puddle of paint covered by paper towels causing her to lose her balance.

                                                  16.

       After losing her balance, Ms. Norton fell to the ground causing her knees and body to collide
      •
with the floor.

                                                  17.

       After her fall, Ms. Norton identified the substance as spilled light blue paint which was

covered by paper towels.

                                                  18.

       At the time of Ms. Norton's fail the paint spill. was left unattended.

                                                - 3--
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                                                 19.

       At the time of Ms. Norton's fall, there were no signs warning customers ofthe spill.

                                                20.

       At the time of Ms. Norton's fall, there was no person or object restricting customers from

accessing the spill.



       As a result of her fall, Ms. Norton sustained serious physical injuries requiring significant

medical treatment and expenses.

                                     COUNT I. NEGLIGENCE



       Plaintiff hereby incorporates paragraphs 1 through 21 as iffully restated herein.

                                                23.

       At all times mentioned herein, Defendants had exclusive control and management of the

Walmart store located at 4735 Jonesboro Road in Union City, Georgia.

                                                ?4.

       At said time and place Glenda Norton was an invitee on Defendants' premises and was entitled

to be upon said premises such that Defendants owed Glenda Norton all duties set forth pursuant to

O.C.G.A. § 51-3-1.

                                                25.

       At all times mentioned herein, Defendants controlled and/or managed the property and had

the legal duty to keep the premises in a state consistent with the due regard of the safety of their

invitees, including Glenda Norton.

                                                26.

       Defendants knew of, or with the exercise of due care for the safety of invitees should have

.known of, the dangerous and hazardous conditions existing on the premises and. the failure to
                                               - 4-
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maintain,inspect, and manage the premises and that said conditions were likely to result in the injuries

suffered by Plaintiff Glenda Norton.

                                                  27.

       Defendants had actual or constructive knowledge prior to Glenda Norton's fall that a foreign

substance had been allowed to exist and remain on the floor creating a dangerous condition on the

premises for Defendants' invitees.

                                                  28.

       Defendants negligently failed to maintain and inspect the premises thereby causing an

unreasonable risk of injury to Glenda Norton.

                                                  29.

       Defendants negligently failed. to maintain a. policy, procedure or system of investigating,

reporting and warning of the aforementioned dangerous and hazardous condition existing on the

premises and negligently maintained the property.

                                                  30.

       Because Defendants had knowledge of, or in the exercise of reasonable care, should have had

knowledge ofthe dangerous and hazardous conditions existing at the premises, Defendants are liable

for the negligent supervision, hiring, training, and retention of their employees, agents, and apparent

agent/employees and the entrustment ofsaid property to their agents and employees.

                                                  31.

       The injuries sustained by the Plaintiff are the direct and proximate result ofthe negligence on

the part of Defendants. But for said negligence, Plaintiff would not have suffered the injuries and

losses discussed herein.




                                                -5-
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                                                  32.

       Plaintiff is entitled to recover for the injuries and pain and suffering sustained, and all other

elements of damages allowed under Georgia law, including but not limited to all compensatory,

general, special, consequential,punitive and/or other damages permitted.under Georgia law.

                                                  33.

       Plaintiff states her intention and desire to bring each and. every permissible, proper and

authorized claim for damages under Georgia law against Defendants.

                                                  34.

       The injuries sustained by the Plaintiff are the direct and proximate result of the negligence of

Defendants. But for said. negligence, Plaintiff would not have suffered. the injuries and. losses

discussed herein.

                                                  35.

       Plaintiff states her intention and desire to bring each and every permissible, proper and

authorized claim for damages under Georgia law against Defendants.

                                 COUNT H. ATTORNEY'S FEES

                                                 36.

       Plaintiff hereby incorporates paragraphs 1 through 35 as fully restated herein.

                                                  37.

       Because Defendants' actions were and are stubbornly litigious, and have caused Plaintiff

unnecessary trouble and expense, Plaintiff is entitled to recover the necessary expenses of litigation,

including an award of reasonable attorney's fees and expenses required by this action. (0.C..G.A. §

13-6-11). Furthermore, Plaintiff is entitled to all expenses of litigation and attorney's fees pursuant

to all other Georgia statutory and common laws.

                                         PRAYER FOR RELIEF

       WHEREFORE,the Plaintiff prays that:
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                a)Process issue and the Defendants be served as provided by law;

                b)Plaintiff has trial by jury;

                c)The Plaintiff be awarded general, special, compensatory, incidental,

 consequential,.punitive and all other permissible damages,in accordance with the enlightened

 conscience ofan impartial jury;

                d)For attorney's fees and. cost of litigation in an amount which will be proven

 through the evidence at the time of trial;

                e)The Plaintiff be awarded interest and costs; and.

                f)The Plaintiff be awarded.such other and further relief as this Court deems just and

 proper and permitted under Georgia law.

                TRIAL BY JURY IS HEREBY DEMANDED.

                This 26th day of October,.2021.

                                                         Respectfully submitted,

                                                         THE FAIRLEY FIRM,LLC

                                                         s/Natalee ummond-Fairlep
                                                         Natalee Drummond-Fairley
                                                         Georgia Bar No. 238119
                                                         Attorney for Plaintiff

1745 Phoenix Boulevard, Suite 400
Atlanta, Georgia 30349
404-596-6600
natalee@fairleyfirm.com

                                                         THE FORSYTHE LAW FIRM,LLC

                                                         s/Christine A. Forsythe
                                                          Christine A. Forsythe
                                                         Georgia Bar No. 321456
                                                         .Attorney for Plaintiff
 1050 Crown Pointe Parkway
 Suite 500
 Atlanta, GA 30338
(404)476-2717
 christine@forsythelawfirm.com

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Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 10 of 48
                                                               FORSYTH COUNTY,GEORGI/
                                                                     FILED IN               THIS OFFICI
                                                                                      10/2612021 1:13 PP
                                                                                        GREG G. ALLEI
                                                                            CLERK OF THE STATE COURT;
                                                                                            21SC-1596-I
                                                                                Abernathy-Maddox, Lesli,
                  IN THE STATE COURT OF FORSYTH COUNTY
                             STATE OF GEORGIA

  GLENDA NORTON,                                )
                                                ) Civil Action No:
                    Plaintiff,                  )
                                                )
     V.                                         ) JURY TRIAL DEMANDED
                                                )
                                                )
  WALMART INC. and WAIL-MART                    )
  STORES EAST,LP

                  Defendants.


               RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

COMES NOW GLENDA NORTON,Plaintiffin the above-styled civil action, and
pursuant to Georgia Uniform State/Superior Court Rule 5.2, the undersigned does hereby
certify that she has served the Defendants in the above styled case with a copy of the
following documents:

          1.    Plaintiff's First Interrogatories to Defendants Walmart INC. and Wal-Mart
                Stores East, LP.
       2.       Plaintiff's First Requests to Produce to Defendants Walmart INC. and
                Wal-Mart Stores East, LP.
          3.    Plaintiff's First Requests for Admissions to Defendants Walmart INC. and
                Wal-Mart Stores East, LP.

Said copies were delivered to Defendants by way of service through private process
server, together with the Summons and Complaint, and properly addressed as follows:

                                Defendant Walmart Inc.
                             c/o The Corporation Company
                            106 Colony Park Drive,Ste 800-B
                               Cumming,GA 30040-2794

                          Defendant Wal-Mart Stores East,LP
                            c/o The Corporation Company
                           106 Colony Park Drive,Ste 800-B
                              Cumming,GA 30040-2794


       Respectfully submitted this 26th day of October, 2021.
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                                          THE FAIRLEY FIRM,LLC

                                          s/Aratalee Drumniond-Fairley
                                          Natalee Drummond-Fairley
                                          Georgia Bar No. 23811.9
                                          Attorney for Plaintiff

1745 Phoenix Boulevard, Suite 400
Atlanta, Georgia 30349
404-596-6600
natalee@fairleyfinn.com

                                          THE FORSYTHE LAW FIRM,
                                          LLC

                                          sf Christine A. Forsythe
                                        . Christine A. Forsythe
                                          Georgia Bar No. 321456
                                          Attorney for Plaintiff
 1050 Crown Pointe Parkway
 Suite 500
 Atlanta, GA 30338
(404)476-2717
 christine@forsythelawfirm.com




                                    2
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                     IN THE STATE COURT OF FORSYTH COUNTY
                               STATE OF GEORGIA

GLENDA NORTON,                                 )
                                               )
       Plaintiff,                              )
                                               )        Civil Action File No.
v.                                             )
                                               )        JURY TRIAL DEMANDED
WALMART INC. and WAL-MART                      )
STORES EAST,LP                                 )
                                               )
       Defendant.                              )
                                               )


     PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS,INTERROGATORIES AND
                         REQUEST TO PRODUCE TO
         DEFENDANTS WALMART INC. AND WAL-MART STORES EAST,LP


                                REQUESTS FOR ADMISSION

       Plaintiff GLENDA NORTON hereby requests that Defendant admit for the purpose ofthis

action the truth of the following facts within forty-five (45) days after the date of service hereof

and in conformity with 0.C.G.A. § 911-36. If any request cannot be truthfully admitted or denied,

please state in detail the reasons why you cannot truthfully admit or deny the matter. If you cannot

admit or deny the request in its entirety, please specify that part which you cannot admit or deny

and state in detail the reasons for any such qualifications. If you assert any claim of privilege in

response to any or all of these requests, set forth, with respect to each such request(s) as to Which

a claim of privilege is asserted, the nature of the privileged claimed (e.g. attorney-client, work-

product, etc.) and the basis for your claim.




                                                   1.
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       Please admit that Defendants owned, operated, controlled or managed the Walmart store,

located at 4735 Jonesboro Road in Union City, Georgia 30291.

                                                2.

        Please admit at the time of the incident the Defendants knew, or with the exercise of due

care for the safety ofinvitees should have known,the subject area. of the Walmart store referenced

in the Complaint was not safe.

                                                3.

         Please admit the Defendants had a duty to make regular inspections of the subject area

ofthe Walmart store referenced in the Complaint.


                                               4.


         Please admit the Defendants had actual or constructive knowledge and should have

known that the subject area of Walmart store referenced in the Complaint had a foreign substance

that had been allowed to exist and remain on the floor causing a dangerous and hazardous condition

for Defendant's invitees.


                                                5.


         Please admit the Defendants did not post a visible warning regarding the fact that the

subject area of Walmart store 'referenced in the Complaint posed a danger to invitees.


                                               6.


         Please admit Defendants failed to make regular inspections of the subject area of

Walmart store referenced in the Complaint.
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                                                   7.


            Please admit the Defendants had a duty to maintain, inspect, and manage the premises

and.the subject area of Walmart store in the Complaint.


                                                   8.


            Please admit the Defendants failed to maintain, inspect, and manage the subject area of

the Wa,hnart store referenced in the Complaint.


                                                   9.


            Please admit the state of being ofthe subject area ofthe Walmart store referenced in the

Complaint created a hazardous condition at the time of the incident.


                                                  10.


          Please admit that Glenda Norton did nothing to cause her injuries.

                                                  1 1.

          Please admit that the incident at issue in this underlying suit was Defendants fault.

                                                  12.

          Please admit that you were served with the Summons and Complaint in the above-styled

action.

                                                  13.

          Please admit that service of process was proper.

                                                  14.

          Please admit that venue for the above styled. action is proper in FORSYTH County,

Georgia.
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                                                 15.

       Please admit that this court has personal jurisdiction over Defendants for purposes of this

lawsuit.

                                                 16.

   Please admit that Plaintiff hasjoined all parties necessary in adjudicating the underlying action.

                                  •   INTERROGATORIES

       Plaintiff GLENDA NORTON, hereby requests that Defendants answer in writing and

under oath the following Interrogatories within forty-five(45)days after the date of service hereof

and. in conformity with 0.C.G.A. § 9-11-33. In responding, Defendants are requested to furnish

such information as is available to Defendants, and. within the knowledge of any of Defendants'

attorneys, investigators, agents, employees, and other representatives.

       Thus, When a question is directed to Defendants, the question is also directed to the

aforementioned persons. To the extent any information called for is objected to upon a claim of

privilege, you must provide enough information for the Court to adjudicate your claim ofprivilege.

These interrogatories are deemed continuing so as to require supplemental answers if the persons

or entities to whom these interrogatories are addressed obtain further information between the time

ofthe initial answers are served and the time of trial.

           PRELIMINARY INSTRUCTIONS ABOUT DISCOVERY IN THIS CASE

       Defendants are hereby instructed not to make "general objections" based on privilege or

work product claims, as such general objections do not specify that facts or documents exist which

are subject to such claims, do not identify in any way the facts or documents to which privilege or

work product is claimed, and do not provide anything to the Court for decision. If a particular

interrogatory does, in fact, encompass facts or documents which you believe to be properly
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withheld from Plaintiff, then you are instructed to so state. In the case of such withholding in

response to any of these interrogatories, you are instructed to prepare responses to the

interrogatory, as asked, which includes the information which you seek to withhold based on a

claim ofprivilege or work product and submit that full response to the Court,in camera,along with

any other evidence which supports the claims and. along with the response provided to Plaintiff,

for decision by the Court of the claimed,right to withhold evidence. Failure to comply with these

instructions will be deemed by Plaintiff to be a failure to answer or respond under 0.C.G.A. § 9-

'11-33, inasmuch as the object of such failure could only be to delay, protract, and obstruct these

proceedings, in violation of0.C.G.A. § 9-11-26.

       If in response to any of Plaintiffs interrogatories, Defendants fail to disclose any fact and

then Defendants subsequently disclose such fact at a later date by supplemental response, please

provide full information about how the existence of this additional fact was "discovered"

by Defendants, by whom such additional fact was "discovered," when such additional fact was

"discovered," who made the decision to disclose such additional fact to Plaintiff, when that

decision was made, and in detail, why such additional fact was not disclosed to Plaintiff

in Defendants' initial response to these interrogatories.

       If Defendants believe that information responsive to these interrogatories is somehow

confidential because it contains trade secrets or allegedly proprietary business information, such

belief in and of itself provides no basis for the blanket withholding of production of such

information in a timely manner. If Defendants intend to make such claims about responsive

information, Defendants should 1)contact Plaintiff's counsel prior to responding to these requests

and 2) articulate to Plaintiff the basis for the claims of confidentiality of each such document or

fact to which a claim of confidentiality is made in the form of a log identifying each document or
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fact and describing it with reasonable particularity as to time, authorship, recipients, and subject.

Absent following these steps, any confidentiality objections shall be deemed waived and

without .merit.

       Stated another way, it is improper for Defendants to attempt the following strategy: wait

until the time has run for responding to the requests herein, interpose boilerplate objections in its

responses that a particular request is overboard, oppressive, or unduly burdensome(or similar such

Objections) and then fail to provide any substantive response to the discOvery request in

its responses. IfDefendants seek to interpose boilerplate "burden" objections in lieu oflegitimate,

substantive responses to these requests, the law requires that Defendants file a motion for

protective order prior to the running of the time for response to these request, and in that motion

explain the bases for the Objections in a manner that satisfies the burden of proof which rests on

Defendants to justify any such objection. Moreover,filing ofany such motion for protective order

does not excuse a failure to respond in a timely manner to these requests.

       This note is provided specifically to put Defendants on notice that if baseless objections

are made to these requests and a motion for protective order is not timely filed and supported, their

actions will be in willful violation of these Georgia Rules of Civil Procedure. At such time,

Plaintiff will consider all objections waived and Plaintiff will move instanter for sanctions,

including the costs and fees incurred pursuing such motion, the disclosure of any information, and

any other sanctions merited by law.

       Any documents produced in response to these interrogatories should be mailed or sent by

Federal Express to the law offices of THE FAIRLEY FIRM, LLC located at 1745 Phoenix

Boulevard, Suite 400, Atlanta, Georgia 30349 and THE FORSYTHE LAW FIRM, LLC located
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at 1050 Crown Pointe Parkway, Suite 500, Atlanta, GA 30338 no later than forty five (45) days

from the date of service.

                                         DEFINITIONS

       For the purposes of these requests, the following terms should .be interpreted as follows:

        1)"Document" means every writing, printing, record„ graphic, photographic, or sound.

reproduction ofevery type and description—be it tangible in the form of paper or intangible in the

form of electronic communications—that is in your possession, control, custody, and. knowledge

which refers to or was prepared before, during, and after the .incident or search defined 'below,

including but not limited to, correspondence, electronic mail ("e-mail"), memoranda of

agreements, assignments, meeting minutes, memoranda, stenographic or handwritten notes,

diaries, notebooks, account books, orders, invoices, statements, bills, checks (or check stubs or

records), vouchers, purchase orders,reports, studies, surveys,charts, maps,analyses,publications,

books, pamphlets, periodicals, catalogues, brochures, schedules, circulars, bulletins, notices,

instructions, manuals,journals, data sheets, work sheets, statistical compilations, data processing

cards, microfilms, computer records(including printouts, floppy or other magnetic storage media),

tapes, photographs (positive or negative prints), drawings, films, videotapes, pictures, voice

recordings; every copy of such writing or record when such copy contains any commentary or

notation whatsoever that does not appear on the original. Plaintiff expressly intends for the term

"Document" to include any attachments or exhibits to the requested document, or any other

documents .referred to in the requested document or incorporated by reference.

       2) "Person" means any natural person, corporation, partnership, proprietorship,

association, organization, group of persons, or any governmental body or subdivision thereof
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         3)"Incident at issue in this suit" means the incident of January 2, 2020, occurring at the

Walmart store, located at 4735 Jonesboro Road, Union City, Georgia 30291.

         4)Plaintiff requests that Defendants take the time to accumulate all information which is

called for by this discovery request, whether it be facts or documents, and to provide all such

information in its initial written discovery responses. If the time provided by law to respond to

this written discovery does not provide you an adequate to do so, Plaintiff will extend the time,

provided the extension requested is not excessive.

         5)Plaintiff requests that Defendants respond to and. supplement these and all future

interrogatories with direct and concise responses and answers from Defendants which can be read

to a.jury. Plaintiff requests, therefore, that Defendants not answer interrogatories in this case by

cross-referencing answers and responses given in other paragraphs of this same discovery, but

rather answer with a full, clear textual response to each question.

                                                  1.

         Please identify the person or persons responding to these Interrogatories on behalf of the

Defendants, and identify each person who has provided information in connection with these

Interrogatories.

                                                  2.

         Identify the owner of Walmart store, located at 4735 Jonesboro Road,Union City, Georgia

30291.

                                                 3.

         Identify the person or entity responsible for the inspection, maintenance and upkeep ofthe

subject area of Walmart store involved in the incident at issue in this suit.
        Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 20 of 48




                                                    4.

        Identify any person not already named as a party to this lawsuit whom you contend caused

or contributed to the incident at issue in this suit.

                                                   5.

       Identify each person with whom you are aware that:

       a.Witnessed the incident or the events occurring immediately before or after the incident;

and/or who

       b. Heard any statements made about the incident by any individual at the scene.

                                                   6.

        Identify each employee with personal knowledge ofthe incident. For each such individual,

identify his or her job title and job or function which was being performed by that individual at the

time of the incident.

                                                   7.

       Identify each person interviewed concerning the incident? For each such person, state:

       a. The date of the interview

        b. The substance of the interview.

Ifthe interview was recorded and/or transcribed, a reproduction of the recording and/or transcript

will suffice.

                                                   8.

       Identify each and every written report made by any person concerning the incident.
        Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 21 of 48



                                                 9.


        Please state, in your own words, your version of how the incident at issue in this suit

occurred.

        a. State the basis upon which you have formed.that belief

        b.Identify each person(excluding your attorney) who provided.you.with information which

enabled you to respond to this Interrogatory.

                                                 10.


        Identify any insurance agreement(s) under which any insurance business may be liable to

satisfy part or all ofanyjudgment which may be entered.in this action,or to indemnify or reimburse

you for payments made to satisfy thejudgment,including in your answer the amount and limits of

any such liability insurance coverage.



                                                11.


        Identify all persons whom you intend to call as expert witnesses at the trial of this case,

and for each such expert, identify:

        a. The subject matter on which he or she is expected to testify:

        b. The substance of the facts and opinions to which he or she is expected to testify:

        c. A summary of the grounds for each opinion to which he or she will testify;

        d. The basis upon which he or she qualifies as an expert on the subject matter to which he

or she is expected to testify.
        Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 22 of 48



                                                 12.


       Please identify your correct legal entity and identify stating the date on which such entity

was formed, the State of incorporation, the name(s) and. address(es) of all officers, directors,

general partners, limited partners and all other parties with any interest in your organization.

                                                 13.

       Identify any previous or subsequent incidents of which you are aware which occurred in

substantially the same manner as the incident complained ofin this lawsuit which also occurred

in at the Walmart store, located at 4735 Jonesboro Road,in Union City, Georgia 30291.

                                                 14.

       Identify in detail any changes that have been made by you, or anyone on your behalf, as to

the policies concerning inspection and maintenance of the premises, or as to any warnings or signs

relating thereto since the occurrence in question.

                                                15.
        Identify any and all policies and procedures in place regarding investigating, reporting,

and warning of the dangerous and hazardous condition existing on the premises at issue in the

Complaint, and state whether you followed those procedures.



                                                16.
       Identify any warnings, whether verbal or written (such as by a sign, or otherwise) which

were given to the Plaintiff, specifically, and/or to your invitees, in general, before the accident

concerning the condition which caused or contributed to the incident complained ofin this lawsuit.
        Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 23 of 48




                                                17.
       Identify any admission(s) or declaration(s) against interest which you contend was made

by the Plaintiff following the incident in question.



                                                 18.


       Identify the date and time which you were first notified of the fact that the subject area of

the premises of the Walmart store posed a danger to invitees and. identify the manner by which

you. became aware of this information.



                                                19.


        At the time of Plaintiffs injury, do you contend that any person or entity other than you

managed the premises on which Plaintiff alleges she was injured, and, if so, state each and every

fact. on which you base the contention and identify each and every writing that supports the

contention?

                                                20.

        At the time of Plaintiffs injury, do you contend that any person or entity other than you

and your employees and agents was responsible for the maintenance of the premises on which

Plaintiff alleges she was injured and, if so, state each and every fact on which you base your

contention and identify each and every writing that supports the contention?

                                                21.

       Describe in detail any conversations any representative has had with the Plaintiff prior to

or following the incident in question.
        Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 24 of 48




                                                22.


        What efforts were made by the Defendants to correct the condition which Plaintiff

contends caused the occurrence in question after the accident in question?

                                                23.


       Please describe what training .procedures,if any, are followed in the course of training of

Defendants' employees with regard to inspection, maintenance and upkeep of the premises of the

Walmart store, located at 4735 Jonesboro Road, Union city; Georgia. This includes any and all

written material, slides, photographs, films, videotapes, etc. which Defendants utilize in training

its employees.

                     REQUESTS FOR PRODUCTION OF DOCUMENTS


       Plaintiff GLENDA NORTON hereby requests that Defendants produce the following

documents pursuant to 0.C.G.A. § 9-11-34 within forty-five (45) days from the date of service

hereofat the Law Firm of THE FAIRLEY FIRM,LLC,located at 1745 Phoenix Boulevard, Suite

400, Atlanta, Georgia 30349, and THE FORSYTHE LAW FIRM, LLC, located at 1050 Crown

Pointe Parkway, Suite 500, Atlanta, GA 30338 or at such other time, date, and location agreed to

by counsel for Defendants and the undersigned counsel, and to serve a written response hereto

within forty-five (45) days from the date of service hereof

                                                 1.

       Copies of all documents, things, or materials referred to or identified in any of your

Answers to the Interrogatories.
        Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 25 of 48




                                                   2.


       Copies of each and every document of any kind relating to this case, from every expert

witness you may call at trial, including all materials in such file(s), such as, but not limited to,

reports, correspondence, writings, photographs,log entries, e-mails, notes, internal memos, post-

its, evaluations, diagrams, and investigations.


                                                  3.


       Copies ofeach and every document ofany kind relating to this case including all materials

in such file(s), such as, but not limited to, .reports, correspondence, writings, photographs, log

entries, e-mails, notes, internal memos,post-its, evaluations, diagrams, and investigations.


                                                  4.


       Copies of all invoices, receipts, estimates, repairs, documents, writings, notes, memos,

investigations, correspondence or documents of any kind regarding the investigation,

maintenance and upkeep of the premises of the Walmart store located at 4735 Jonesboro Road,

Union City, Georgia from January 2015 to the present.


                                                  5.


       Any and all insurance agreements or policies under which any person or entity carrying on

an insurance business may be liable to satisfy part or all of a judgment that may be rendered in this

action or to indemnify or reimburse for payments made to satisfy the judgment.

                                                  6.

       A curriculum vitae or resume for each individual whom you expect to call as an expert

witness during the trial ofthis case on the merits.
         Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 26 of 48




                                                  7.

        Copies of all written policies and procedures in place on the date ofthe incident at issue

 in this suit relating to the investigation, maintenance, and upkeep of the premises on the subject

 Walmart property.



                                                       Respectfully submitted by attorneys for
                                                       Plaintiff,

                                                       THE FAIRLEY FIRM,LLC

                                                       s/Natalee Druminond-Fairley
                                                       Natalee Drummond-Fairley
                                                       Georgia Bar No. 238119

 1745 Phoenix Boulevard, Suite 400
 Atlanta, Georgia 30349
 404-596-6600
 natalee@fairleyfirm.com


                                                       THE FORSYTHE LAW FIRM,LLC

                                                       s/Christine A. Forsythe
                                                       Christine A. Forsythe
                                                       Georgia Bar No. 321456
                                                       Attorney for Plaintiff
 1050 Crown Pointe Parkway
 Suite 500
 Atlanta, GA 30338
(404)476-2717
 christine@forsythelawfirm.corn
                                                                             FORSYTH COUNTY,GEORGIA
                     Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 27 of 48
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            redaction of personal. or confidential information in 0:C6A

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                                                                        CLERK OF THE STATE COURTS
                                                                                         21SC-1596-A
                                                                            Abernathy-Maddox, Leslie
                   IN THE STATE COURT OF FORSYTH COUNTY
                              STATE OF GEORGIA

GLENDA NORTON,                                           Civil Action File No.
                                                         21SC1596A
      Plaintiff,
v.

WALMART, INC. and
WAL-MART STORES EAST, LP,

      Defendants.
                                         /

                          ANSWER OF DEFENDANTS

      COME NOW, Defendants Walmart, Inc. and Wal-Mart Stores East, LP, and

make this Answer to Plaintiff's Complaint as follows:

                                 FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendants upon which

relief can be granted.

                               SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to
       Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 29 of 48




herself; and on account thereof, Plaintiff is not entitled to recover from Defendants.

                                FOURTH DEFENSE

      Defendants deny that they were negligent in any manner whatsoever or that

any negligent act or omission on its part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendants.

                                 SIXTH DEFENSE

      Plaintiff’s claims for attorney’s fees should be dismissed as a matter of law.

                               SEVENTH DEFENSE

      Plaintiff’s claim for punitive damages is barred as a matter of law.

                                EIGHTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendants in this case, to the Constitution of

the United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes allow for the deprivation of property without due

process of law. (U.S. Const. amends V and XIV; Ga. Const. Art. 1, Section 1, Para.
       Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 30 of 48




1).   Specifically, said statutes fail to define or provide advance notice of the

prohibited behavior with reasonable clarity, fail to specify the upper limit of

damages to be imposed, fail to set standards or criteria for the jury to apply in

determining whether to impose punitive damages and, if so, the amount thereof.

These defects in the statutes, inter alia, leave to the unbridled discretion of a

random jury whether to impose such damages and the amount thereof, thereby

authorizing an award of aggravated, exemplary, or punitive damages which is

unpredictable, arbitrary, capricious, and disproportionate.

                                 NINTH DEFENSE

       The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendants in this case, to the Constitution of

the United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes deny these Defendants equal protection of the laws by

providing fewer protections for civil litigants than the criminal laws provide to

persons accused of violation of criminal statutes which provide for the imposition

of monetary fines. (U.S. Const. Amend. XIV, Ga. Const. Art. 1, Section 1, Para. 2).

Specifically, said statutes inter alia, fail to define or provide advance notice of the

prohibited behavior with reasonably clarity whereas criminal defendants are
      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 31 of 48




entitled to such notice; said statutes fail to specify the upper limit of damages to

be imposed whereas criminal statutes imposing similar penalties must be limited;

said statutes allow imposition of such damages upon the "preponderance of the

evidence" rather than the "beyond a reasonable doubt" standard applied in similar

criminal cases; and said statutes contemplate the imposition of such damages

against civil litigants who have been compelled to give evidence against

themselves under the Georgia Civil Practice Act whereas criminal defendants in

similar cases cannot be so compelled.

                                TENTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendants in this case, to the Constitution of

the United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes allow for the imposition of an excessive fine. (U.S.

Const. Amend. VIII and XIV; Ga. Const. Art. 1, Section 1, Para. 1.)

                              ELEVENTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendants in this case, to the Constitution of
       Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 32 of 48




the United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes do not provide fair notice of (1) the severity of the

potential punishment in relationship to the alleged degree of reprehensible

conduct of Defendants, (2) the ratio of punitive damages award to the actual harm

inflicted upon the Plaintiff, and (3) a comparison between the award and the civil

or criminal penalties that could be imposed for comparable alleged misconduct.

See BMW of North America, Inc. v. Gore, 116 U.S. 415, 133 L.Ed.2d 333, 115 S.Ct.

932 (1966); BMW of North America, Inc. v. Gore, 116 S.Ct. 1589 (1996); and Pacific

Mutual Life Ins. Co. v. Haslip, 499 U.S. 1, 113 L.Ed.2d 1, 111 S.Ct. 1032 (1991)

                               TWELFTH DEFENSE

      Defendants respond to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                       1.

      Defendants admit the allegations contained in paragraph 1 of Plaintiff's

Complaint that Plaintiff is a citizen of the state of Georgia, based on knowledge

and belief. Defendants deny the remaining allegations.

                                       2.

      Defendants admit, as stated, the allegations contained in paragraph 2 of

the Plaintiff's Complaint.
       Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 33 of 48




                                     3.

      Defendants admit, as stated, the allegations contained in paragraph 3 of

the Plaintiff's Complaint.

                                          4.

      Defendants admit the allegations contained in paragraph 4 of the Plaintiff's

Complaint, at this time only.

                                          5.

      Defendants admit the allegations contained in paragraph 5 of the Plaintiff's

Complaint.

                                          6.

      Defendants re-allege and incorporate Paragraphs 1 through 5 above as if

fully set forth, herein.

                                          7.

      Defendants deny the allegations contained in paragraph 7 of the Plaintiff's

Complaint. Defendants admit that Defendant Wal-Mart Stores East, LP operated

Store #855, located at 4735 Jonesboro Road, Union City, Georgia 30291 on January

2, 2020.

                                          8.

      Defendants lack sufficient knowledge and information to either admit or
      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 34 of 48




deny the allegations contained in paragraph 8 of Plaintiff's Complaint.

                                        9.

      Defendants lack sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 9 of Plaintiff's Complaint.

                                       10.

      Defendants deny the allegations contained in paragraph 10 of the Plaintiff's

Complaint.

                                       11.

      Defendants lack sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 11 of Plaintiff's Complaint.

                                       12.

      Defendants lack sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 12 of Plaintiff's Complaint.

                                       13.

      Defendants lack sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 13 of Plaintiff's Complaint.

                                       14.

      Defendants lack sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 14 of Plaintiff's Complaint.
      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 35 of 48




                                       15.

      Defendants deny, as stated, the allegations contained in paragraph 15 of the

Plaintiff's Complaint.

                                       16.

      Defendants deny, as stated, the allegations contained in paragraph 16 of the

Plaintiff's Complaint.

                                       17.

      Defendants deny the allegations contained in paragraph 17 of the Plaintiff's

Complaint.

                                       18.

      Defendants deny the allegations contained in paragraph 18 of the Plaintiff's

Complaint.

                                       19.

      Defendants deny the allegations contained in paragraph 19 of the Plaintiff's

Complaint.

                                       20.

      Defendants deny, as stated, the allegations contained in paragraph 20 of the

Plaintiff's Complaint.
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                                       21.

      Defendants deny the allegations contained in paragraph 21 of the Plaintiff's

Complaint.

                                       22.

      Defendants re-allege and incorporate Paragraphs 1 through 21 above as if

fully set forth, herein.

                                       23.

      Defendants deny the allegations contained in paragraph 23 of the Plaintiff's

Complaint. Defendants admit that Defendant Wal-Mart Stores East, LP operated

Store #855, located at 4735 Jonesboro Road, Union City, Georgia 30291 on January

2, 2020.

                                       24.

      Defendants deny the allegations contained in paragraph 24 of the Plaintiff's

Complaint. The applicable statute and case law speak for themselves.

                                       25.

      Defendants deny the allegations contained in paragraph 25 of the Plaintiff's

Complaint. The applicable statute and case law speak for themselves. Defendants

admit that Defendant Wal-Mart Stores East, LP operated Store #855, located at

4735 Jonesboro Road, Union City, Georgia 30291 on January 2, 2020.
     Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 37 of 48




                                      26.

     Defendants deny the allegations contained in paragraph 26 of the Plaintiff's

Complaint.

                                      27.

     Defendants deny the allegations contained in paragraph 27 of the Plaintiff's

Complaint.

                                      28.

     Defendants deny the allegations contained in paragraph 28 of the Plaintiff's

Complaint.

                                      29.

     Defendants deny the allegations contained in paragraph 29 of the Plaintiff's

Complaint.

                                      30.

     Defendants deny the allegations contained in paragraph 30 of the Plaintiff's

Complaint.

                                      31.

     Defendants deny the allegations contained in paragraph 31 of the Plaintiff's

Complaint.
       Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 38 of 48




                                       32.

      Defendants deny the allegations contained in paragraph 32 of the Plaintiff's

Complaint. The applicable statute and case law speak for themselves.

                                       33.

      Defendants lack sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 33 of Plaintiff's Complaint.

                                       34.

      Defendants deny the allegations contained in paragraph 34 of the Plaintiff's

Complaint.

                                       35.

      Defendants lack sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 35 of Plaintiff's Complaint.

                                       36.

      Defendants re-allege and incorporate Paragraphs 1 through 35 above as if

fully set forth, herein.

                                       37.

      Defendants deny the allegations contained in paragraph 37 of the Plaintiff's

Complaint.
        Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 39 of 48




                                          38.

        All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                          39.

        Defendant denies Plaintiff's prayer for relief, including all subparts thereof,

(a) – (f).

        WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed

with all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY

OF TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.

        This the 23rd day of November, 2021.

                                                McLAIN & MERRITT, P.C.


                                                /s/ Jennie E. Rogers
                                                Jennie E. Rogers
                                                Georgia Bar No. 612725
                                                Attorney for Defendants
                                                WALMART INC.
                                                WAL-MART STORES EAST, LP

3445 Peachtree Road, N.E., Suite 500
Atlanta GA 30326
(404) 365-4576
(404) 364-3138 (fax)
jrogers@mmatllaw.com
      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 40 of 48




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANTS WALMART INC. AND WAL-MART STORES EAST, LP has

this day been filed and served upon opposing counsel via Odyssey eFileGA.

      This the 23rd day of November, 2021.

                                             McLAIN & MERRITT, P.C.


                                             /s/ Jennie E. Rogers
                                             Jennie E. Rogers
                                             Georgia Bar No. 612725
                                             Attorney for Defendants
                                             WALMART INC.
                                             WAL-MART STORES EAST, LP

3445 Peachtree Road, N.E., Suite 500
Atlanta GA 30326
(404) 365-4576
(404) 364-3138 (fax)
jrogers@mmatllaw.com
      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 41 of FORSYTH
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                                                                                  GREG G. ALLEN
                                                                     CLERK OF THE STATE COURTS
                                                                                      21SC-1596-A
                                                                         Abernathy-Maddox, Leslie
                   IN THE STATE COURT OF FORSYTH COUNTY
                              STATE OF GEORGIA

GLENDA NORTON,                                         Civil Action File No.
                                                       21SC1596A
      Plaintiff,
v.

WALMART, INC. and
WAL-MART STORES EAST, LP,

      Defendants.
                                       /

                       NOTICE OF TAKING DEPOSITION

      YOU ARE HEREBY notified that beginning on the 21st day of February,

2022, commencing at 11:00 a.m., at the offices of The Fairley Firm, LLC, 1745

Phoenix Boulevard, Suite 400, Atlanta, GA 30349, the deposition will be taken of

Glenda Norton. Said deposition will be taken for purposes of discovery and all

other purposes provided by law before an officer duly authorized to administer

oaths. The deposition shall continue from day-to-day until completion. This

deposition may also be videotaped by a videographer.

      This the 23rd day of November, 2021.

                                             McLAIN & MERRITT, P.C.

                                             /s/ Jennie E. Rogers
                                             Jennie E. Rogers
                                             Georgia Bar No. 612725
                                             Attorney for Defendants
                                             WALMART INC.
                                             WAL-MART STORES EAST, LP
      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 42 of 48




3445 Peachtree Road, N.E., Suite 500
Atlanta GA 30326
(404) 365-4576
(404) 364-3138 (fax)
jrogers@mmatllaw.com
      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 43 of 48




                         CERTIFICATE OF SERVICE

      I hereby certify that I have this date served a copy of the within and

foregoing NOTICE OF TAKING DEPOSITION has this day been filed and

served upon opposing counsel via Odyssey eFileGA.

      This the 23rd day of November, 2021.

                                             McLAIN & MERRITT, P.C.


                                             /s/ Jennie E. Rogers
                                             Jennie E. Rogers
                                             Georgia Bar No. 612725
                                             Attorney for Defendants
                                             WALMART INC.
                                             WAL-MART STORES EAST, LP

3445 Peachtree Road, N.E., Suite 500
Atlanta GA 30326
(404) 365-4576
(404) 364-3138 (fax)
jrogers@mmatllaw.com
      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 44 of FORSYTH
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                                                                         Abernathy-Maddox, Leslie
                   IN THE STATE COURT OF FORSYTH COUNTY
                              STATE OF GEORGIA

GLENDA NORTON,                                         Civil Action File No.
                                                       21SC1596A
      Plaintiff,
v.

WALMART, INC. and
WAL-MART STORES EAST, LP,

      Defendants.
                                         /

                          12-PERSON JURY DEMAND

      COME NOW Defendants Walmart Inc. and Wal-Mart Stores East, LP, and

demands a trial by a jury of twelve (12) persons.


      This the 23rd day of November, 2021.

                                             McLAIN & MERRITT, P.C.


                                             /s/ Jennie E. Rogers
                                             Jennie E. Rogers
                                             Georgia Bar No. 612725
                                             Attorney for Defendants
                                             WALMART INC.
                                             WAL-MART STORES EAST, LP

3445 Peachtree Road, N.E., Suite 500
Atlanta GA 30326
(404) 365-4576
(404) 364-3138 (fax)
jrogers@mmatllaw.com
      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 45 of 48




                         CERTIFICATE OF SERVICE

      I hereby certify that I have this date served a copy of the within and

foregoing 12-PERSON JURY DEMAND has this day been filed and served upon

opposing counsel via Odyssey eFileGA.

      This the 23rd day of November, 2021.

                                             McLAIN & MERRITT, P.C.


                                             /s/ Jennie E. Rogers
                                             Jennie E. Rogers
                                             Georgia Bar No. 612725
                                             Attorney for Defendants
                                             WALMART INC.
                                             WAL-MART STORES EAST, LP

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      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 46 of FORSYTH
                                                                    48      COUNTY, GEORGIA
                                                                               FILED IN THIS OFFICE
                                                                                   11/23/2021 3:50 PM
                                                                                     GREG G. ALLEN
                                                                        CLERK OF THE STATE COURTS
                                                                                         21SC-1596-A
                                                                            Abernathy-Maddox, Leslie
                   IN THE STATE COURT OF FORSYTH COUNTY
                              STATE OF GEORGIA

GLENDA NORTON,                                           Civil Action File No.
                                                         21SC1596A
      Plaintiff,
v.

WALMART, INC. and
WAL-MART STORES EAST, LP,

      Defendants.
                                         /

                     CERTIFICATE REGARDING DISCOVERY

      Pursuant to Uniform State Court Rule 5.2, as amended, the undersigned

hereby certifies that the following discovery has been served upon all persons

identified in the Certificate of Service attached hereto and incorporated herein by

reference:

      1) DEFENDANTS’ REQUEST FOR ADMISSIONS TO PLAINTIFF
      2) DEFENDANTS’ ANSWERS TO REQUEST FOR ADMISSIONS
      3) DEFENDANTS’   INTERROGATORIES   AND     REQUEST                        FOR
         PRODUCTION TO PLAINTIFF


                                             McLAIN & MERRITT, P.C.


                                             /s/ Jennie E. Rogers
                                             Jennie E. Rogers
                                             Georgia Bar No. 612725
                                             Attorney for Defendants
                                             WALMART, INC.
                                             WAL-MART STORES EAST, LP
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3445 Peachtree Road, N.E., Suite 500
Atlanta GA 30326
(404) 365-4576
(404) 364-3138 (fax)
jrogers@mmatllaw.com
      Case 2:21-cv-00251-SCJ Document 1-2 Filed 11/26/21 Page 48 of 48




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing CERTIFICATE

REGARDING DISCOVERY has this day been filed and served upon opposing

counsel via Odyssey eFileGA.

      This the 23rd day of November, 2021.

                                             McLAIN & MERRITT, P.C.


                                             /s/ Jennie E. Rogers
                                             Jennie E. Rogers
                                             Georgia Bar No. 612725
                                             Attorney for Defendants
                                             WALMART, INC.
                                             WAL-MART STORES EAST, LP

3445 Peachtree Road, N.E., Suite 500
Atlanta GA 30326
(404) 365-4576
(404) 364-3138 (fax)
jrogers@mmatllaw.com
